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             EXHIBIT E
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            InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered
                          Fusion Device
                   Important Medical Information

 CAUTION: Federal (USA) law restricts this device to sale by or on the order of a
 physician with appropriate training.


  DESCRIPTION:
 The InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device consists
 of two components containing three parts- a tapered metallic spinal fusion cage,
 a recombinant human bone morphogenetic protein and a carrier/scaffold for the
 bone morphogenetic protein and resulting bone. The InFUSE™ Bone Graft
 component is inserted into the LT-CAGE™ Lumbar Tapered Fusion Device
 component to form the complete lnFUSETM Bone Graft/LT-CAGE™ Lumbar
 Tapered Fusion Device. These components must be used as a system. The
 InFUSE™ Bone Graft component must not be used without the LT-CAGE™
 Lumbar Tapered Fusion Device component.

 LT-CAGE™ Lumbar Tapered Fusion Device component
The LT-CAGE™ device consists of a hollow, perforated, machined cylinder with
opposing flat sides. The cage has a tapered design with an angle of 8.8° and is
available in diameters ranging from 14mm to 18mm at the narrow end of the
taper, 17mm to 22 mm at the wide end of the taper and in lengths ranging from
20mm to 26mm. There are two holes on each of the two flat sides. On each of
the two rounded aspects, there is a single rou nded slot. The implants have a
helical screw thread on the outer surface. One end of the device is closed. The
other end is open to be filled with the InFUSE™ Bone Graft component.

The LT-CAGE™ implants are made from implant grade titanium alloy (Ti-6AI-4V)
described by such standards as ASTM F136 or its ISO equivalent.

The LT-CAGE™ Lumbar Tapered Fusion Device component is sold separately
from the InFUSE™ Bone Graft component, however, these two components
must be used together. The package labeling for the LT-CAGE™ Lumbar
Tapered Fusion Device contains complete product information for this
component.

lnFUSET"' Bone Gra« component
InFUSE™ Bone Graft consists of recombinant human Bone Morphogenetic
Protein-2 (rhBMP-2, known as dibotermin alta) placed on an absorbable collagen
sponge (ACS). The InFUSE™ Bone Graft component induces new bone tissue
at the site of implantation. Based on data from non-clinical studies, the bone



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 formation process develops from the outside of the implant towards the center
 until the entire InFUSE™ Bone Graft component is replaced by trabecular bone.

 rhBMP-2 is the active agent in the InFUSE™ Bone Graft component. rhBMP-2
 is a disulfide-linked dimeric protein molecule with two major subunit species of
 114 and 131 amino acids. Each subunit is glycosylated at one site with high-
 mannose-type glycans. rhBMP-2 is produced by a genetically engineered
 Chinese hamster ovary cell line.

 rhBMP-2 and excipients are lyophilized. Upon reconstitution, each milliliter of
 rhBMP-2 solution contains: 1.5 mg of rhBMP-2; 5.0 mg sucrose, NF; 25 mg
 glycine, USP; 3.7 mg L-glutamic acid, FCC; 0.1 mg sodium chloride, USP; 0.1
 mg polysorbate 80, NF; and 1.0 ml of sterile water. The reconstituted rhBMP-2
 solution has a pH of 4.5, and is clear, colorless and essentially free from plainly
 visible particulate matter.

 The ACS is a soft, white, pliable, absorbent implantable matrix for rhBMP-2.
 ACS is made from bovine Type I collagen obta!ned from the deep flexor
 (Achilles) tendon. The ACS acts as a carrier for the rhBMP-2 and acts as a
 scaffold for new bone formation.

 Three sizes of the InFUSE™ Bone Graft component are available based on the
 internal volume of the LT-CAGE™ Lumbar Tapered Fusion Device component
 that is selected. The table below lists the appropriate InFUSE™ Bone Graft kit
 for the corresponding LT-CAGE™ Lumbar Tapered Fusion Device component
 size:

        InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device Combinations
    LT-CAGE™ Lumbar Tapered
                                    Appropriate InFUSE™ Bone Graft Kit
          Fusion Device
                       Size
                                                                              Reconstituted rtiBMP-2/ACS
     Part #    (lead diameter, mm      Part#          Kit name (size in cc)          graft volume
                 x length mm)
    8941420          14x20            7510200             Small (2.8)                   2.8ml
    8941423         14x23            7510200              Small (2.8)                   2.8ml
    8941620         16x20            7510200              Small (2.8)                  2.8ml
    8941623         16x23            7510400             Medium (5.6)                  5.6ml
    8941626         16x26            7510400             Medium (5.6)                  5.6ml
   8941823          18x23            7510400             Medium (5.6)·                 5 .6ml
   8941826          18x26            7510600          Large Pre-Gut (8.0)              8.0ml
   8941826          18x26            7510800            Large II ( 8.0)                8.0ml


Each kit contains all the components necessary to prepare the InFUSE™ Bone
Graft component: the rhBMP-2 which must be reconstituted, sterile water,
absorbable collagen sponges, syringes with needles, this package insert and




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     instructions for preparation. The number of each item may vary depending on
     the size of the kit.

    The rhBMP-2 is provided as a lyophilized powder in vials delivering either 4.2 mg
    or 12 mg of protein. After appropriate reconstitution, both configurations result in
    the same formulation and concentration {1.5 mg/mL) of rhBMP-2. The solution
    is then applied to the provided absorbable collagen sponge(s). The lnFUSETM
    Bone Graft component is prepared at the time of surgery and allowed a
    prescribed amount of time (no less than 15 minutes) before placement inside of
    the LT-CAGE™ Lumbar Tapered Fusion Device components. The Instructions
    for Preparation contain complete details on preparation of the InFUSE™ Bone
    Graft/LT-CAGE™ Lumbar Tapered Fusion Device.

    No warranties, express or implied, are made. Implied warranties of
    merchantability and fitness for a particular purpose or use are specifically
    excluded.

     INDICATIONS:
     The InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device is
     indicated for spinal fusion procedures in skeletally mature patients with
     degenerative disc disease (DOD) at one level from L4-St. DOD is defined as
     discogenic back pain with degeneration of the disc confirmed by patient history
    and radiographic studies. These DOD patients may also have up to Grade I
    spondylolisthesis at the involved level. Patients receiving the InFUSE™ Bone
    Graft! LT-CAGE™ Lumbar Tapered Fusion Device should have had at least six
    months of nonoperative treatment prior to treatment with the InFUSE™ Bone
    Graft/LT-CAGE™ device. The lnFUSETM Bone Graft! LT-CAGE™ Lumbar
    Tapered Fusion Device is to be implanted via an anterior open or an anterior
    laparoscopic approach.

CONTRAINDICATIONS
• The InFUSE™ Bone Graft!LT-CAGE™ Lumbar Tapered Fusion Device is
  contraindicated for patients with a known hypersensitivity to recombinant
  human Bone Morphogenetic Protein-2, bovine Type I collagen or to other
  components of the formulation.

•     The InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device
      should not be used in the vicinity of a resected or extant tumor.

•     InFUSE™ Bone Graft!LT-CAGE™ Lumbar Tapered Fusion Device should
      not be used in patients who are skeletally immature (<18 years of age or no
      radiographic evidence of epiphyseal closure).

•     The InFUSE™ Bone Graft!LT-CAGE™ Lumbar Tapered Fusion Device
      should not be used in pregnant women. The potential effects of rhBMP-2 on
      the human fetus have not been evaluated.



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     •    The InFUSE™ Bone Graft/LT-CAGE™ Lu mbar Tapered Fusion Device
          should not be implanted in patients with an active infection at the operative
          site or with an allergy to titanium or titanium alloy.

    WARNINGS:

1-.        Women of childbearing potential should be advised that antibody formation to
           rhBMP-2 or its influence on fetal development have not been assessed. In
           the clinical trial supporting the safety and effectiveness of the InFUSE™
           Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device, 2/277 (0.7%)
          patients treated with JnFUSETM Bone Graft component and 1/ 127 (0.8%)
          patients treated with autograft bone developed antibodies to rhBMP-2. The
          effect of maternal antibodies to rhBMP-2, as might be present for several
          months following device implantation, on the unborn fetus is·unknown.
          Additionally, it is unknown whether fetal expression of BMR-2 could re-expose
          mothers who were previously antibody positive, thereby eliciting a more
          powerful immune response to BMP-2 with adverse consequences for the
          fetus. Studies in genetically altered mice indicate that BMP-2 is critical to ·
          fetal development and that lack of BMP-2 activity, as might be induced by
          antibody formation, may cause neonatal death or birth defects.

 •       The safety and effectiveness of the InFUSE™ Bone Graft/LT-CAGE™
         Lumbar Tapered Fusion Device in nursing mothers has not been established.
         It is not known if BMP-2 is excreted in human milk.

•        Women of childbearing potential should be advised not to become pregnant
         fo r one year following treatment with the InFUSE™ Bone Graft/LT-CAGE™
         Lumbar Tapered Fusion Device.

•        The safety and effectiveness of the InFUSE Bone Graft component with other
         spinal implants, implanted at locations other than the lower lumbar spine, or
         used in surgical techniques other than anterior open or anterior laparoscopic
         approaches have not been established. When degenerative disc disease
         was treated by a posterior lumber interbody fusion procedure with cylindrical
         threaded cages, posterior bone formation was observed in some instances.

•        The implantation of the InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered
         Fusion Device using an anterior laparoscopic surgical approach is associated
         with a higher incidence of retrograde ejaculation when compared to
         implantation using the an anterior open surgical approach.

PRECAUTIONS:
General
• The safety and effectiveness of repeat applications of the InFUSE™ Bone
  Graft component has not been established.


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    •    The InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device
         should only be used by surgeons who are experienced in spinal fusion
         procedures and have undergone adequate training with this device, for
         anterior laparoscopic and/or anterior open procedures.

    •    Two LT-CAGETM Lumbar Tapered Fusion Device components should be
         implanted side by side at the surgical level whenever possible.

    •    The LT-CAGETM Lumbar Tapered Fusion Device components and
         instruments must be sterilized prior to use according to the sterilization
         instructions provided in the package insert for that component, unless
         supplied sterile and clearly labeled as such.

    •    The InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device is
         intended for single use only. Discard unused product and use a new device
         for subsequent applications.

    •    Prior to use, inspect the packaging, vials and stoppers for visible damage. If
         damage is visible, do not use the product. Retain the packaging and vials
         and contact a Medtronic Sofamor Danek rep resentative.

    •    Do not use after the printed expiration date on the label.

    Hepatic and Renal Impairment
    • The safety and effectiveness of the InFUSE™ Bone Graft/LT-CAGE™
      Lumbar Tapered Fusion Device in patients with hepatic or renal impairment
      has not been established. Pharmacokinetic studies of rhBMP-2 indicate that
      the renal and hepatic systems are involved with its clearance.

Geriatrics
• Clinical studies of the InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered
  Fusion Device did not include sufficient numbers of patients 65 years and
  older to determine whether they respond differently from you nger subjects.

Bone formation
• The safety and effectiveness of the InFUSE™ Bone Graft/LT-CAGE™
  Lumbar Tapered Fusion Device has not been demonstrated in patients with
  metabolic bone diseases.

•       While not specifically observed in the clinical study, the potential for ectopic,
        heterotopic or undesirable exuberant bone formation exists.




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    Antibody Formation/Allergic Reactions
    • The safety and effectiveness of the lnFUSETM Bone GrafVLT-CAGETM
      Lumbar Tapered Fusion Device has not been demonstrated in patients with
      autoimmune disease.

    •    The safety and effectiveness of the InFUSE™ Bone Graft/LT-CAGE™
         Lumbar Tapered Fusion Device has not been demonstrated in patients with
         immunosuppressive disease or suppressed immune systems resulting from
         radiation therapy, chemotherapy, steroid therapy or other treatments.

    lmmunogenicity
    • As with all therapeutic proteins, there is a potential for immune responses to
      be generated to the InFUSE™ Bone Graft component. The immune
      response to the InFUSE™ Bone Graft components was evaluated in 349
      investigational patients and 183 control patients receiving lumbar interbody
      fusions.

            •   Anti-rhBMP-2 antibodies: 2/349 (0.6%) patients receiving the
                InFUSE™ Bone Graft component developed antibodies vs. 1/ 183
                (0.5%) in the control group.

            •   Anti-bovine Type J collagen antibodies: 18.1 % of patients receiving the
                lnFUSETM Bone Graft component developed antibodies to bovine
                Type I collagen vs. 14.2% of control patients. No patients in either
                group developed anti-human Type I collagen antibodies.

           •    The presence of antibodies to rhBMP-2 was not associated with
                immune mediated adverse events such as allergic reactions. The
                neutralizing capacity of antibodies to rhBMP-2 is not known.

•       The incidence of antibody detection is highly dependent on the sensitivity and
        specificity of the assay. Additionally, the incidence of antibody detection may
        be influenced by several factors including sample handling, concomitant
        medications and underlying disease. For these reasons, comparison of the
        incidence of antibodies to the lnFUSETM Bone Graft component with the
        incidence of antibodies to other products may be misleading.

ADVERSE EVENTS:
The InFUSE™ Bone Graft/LT-CAG E™ Lumbar Tapered Fusion Device was
implanted in 288 investigational patients and compared to 1.39 control patients
who received an LT-CAGE™ Lumbar Tapered Fusion Device filled with iliac
crest autograft. The investigational patients were implanted with the device via
either an open anterior surgical approach or a laparoscopic anterior surgical
approach. Th e control patients were implanted only via the open anterior
surgical approach.




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Adverse event rates presented are based on the number of patients having at
least one occurrence for a particular adverse event divided by the total number
of patients in that treatment group.




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                                                                           ADVERSE EVENTS
                  r
                                (INFUSETM Bone Graft/LT-CageTM Device data combined from all experience with the device)
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                                                                     6Wed<3
                                  Surgery
                                               ~                   (;!4WkS-<9       ~WkS - <5           ~Mos--<9      ~Mos-<19           ~19Mos-4>
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                                                                                                                                                                                    l(%of139)
                                                                                                                                                                                   total events
                                                                                                                                                                   10(3.5)           3 (2.2)
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 AnatomicaYTechnical             10      3       0         0        0        0      0
 OiffiaJIIV                                                                                                                                                       65 (22.6)         ~(21.6)
                                                                                                5       14        4   20         7         6                8                          33
                                         0       1         4        11       5      10                                                                                72
 Back and/or Leg Pain             0
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                                                                                                    1   0         0    1         0         0                0          1                1
                                         0       0         0        0        0      0
 cancier                          0
                                                                                                                                                                   15(5.2)          12(8.6)
                                                                                                        2         1    3         2         0                1                          14
                                  2      0       4         5        6        2      1               3                                                                 18
 caroorv~r                                                                                                                                                                           1 (0.7)
     . . .                                                                                                                                                         0(0.0)
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 Death .
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 Graft Sii~ Ffelatfd              0      0       0         0
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 lfr4llanl QispCacement/          0      0       1         1        3        0                                                                                         5
 t..oosenna ..-                                                                                                                                                   35 (12.2)         16(11.5)
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 Infection .                      0      0      19         9        8
                                                                                                                                                                    5 (1.7)          0(0.0)
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                                                                                                                                                                    5 (1.7)
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                                                                                                                                                                   11 (3.8)          13 (9.4)
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 Non-Union':.· ·                  0      0       0         1        0        1                                                                                        11
                                                                                                                                                                  50 (17.4)         :r1 (26.6)
                                                                                    3           4       8     4       14       8           9                8                          43
 Other     .. .                   6      6      17        11         7       2                                                                                       64
                                                                                                                                                                   21 (7.3)         12 (8.6)
 Other Pan:.:                     0      0       1         1        2        0      4           2       s         1    7       6           6                3
                                                                                                                                                                     25                 13
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 RespiratOry'                     0      0       3         2         1       0                                                                                         5
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 Retr~de Ejao.Aation              0      0       4         1        5
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                                                                                                                                                                     7(24)           2(1.4)
                                                                    2        0      1           0       1     0       0        0           0                0                           2
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 Traoriia. ·..                   0       0       4        4                                                                                                            72
                                                                                                                                                                  33(11.5)           10(7.2)
 Lkogenital '·   ..               1      0      20         5        2        0      2           2       6         1    2         1         4                2        'Sf
                                                                                                                                                                   14(4.9)
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                                                                                                                                                                                     5(3.6)
                                                                    0        0      0           0       0     0       0        0           0                0                           5
 VasaJar Jptia.()p               15      5       0        0                                                                                                            IS
                                                                                                                                                                     1 (0.3)         0(0.0)
                                                                    0        0      0           0       0     0       0        0           0                0                           0
v~ F:racture                     0       0       1        0                                                                                                             1
                                                                                                                                                                  214(7'1.3)       114(82.0)
INrt MJeroa Event




                      ..Non-union adverse events that have not resulted in a second surgery.
                        Non-union adverse events that have resulted in a second surgery.
                      1
                        Percent of 140 males.
                      2
                        Percent of 70 males.




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The reported rates of several adverse events were high, but similar, in both the
investigational and control groups. These events included back and leg pain,
neurological events, gastrointestinal events, spinal events, cardiovascular events and
in{ection.

 Some of the reported adverse events required surgical interventions subseqt,.~ent to the
 initial surgery. The number of subjects requiring a second surgical intervention was
.10.4% (30/288) in the investigational groups and 13.7% (19/139) in the control group.
 The majority of supplemental fixations were due to painful nonunion.

 Urogenital events occurred with greater frequency in the investigational groups
.(1 1.5%) compared to the control group (7%). Retrograde ejaculation rates were
 greater in the investigational groups (11 subjects) compared to the control group (1
 subject) with the majority of events occurring in the early postope~ative period.

The incidence of adverse events that were considered device related, including
implant displacement/loosening, implant malposition and subsidence were all greater
·in the investigational groups compared to the control group. T he rates of these '
events were low, however, and may be partially attributed to a learning curve
associated with the laparoscopic surgical approach. The rate of nonunion requiring
secondary surgery in the investigational groups was comparable to that of the control
group. One death was reported - a control group subject with cardiovascular disease.

      Potential Adverse Events:
      The following is a list of potential adve rse events which may occur with spinal
      fusion surgery with the InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered
      Fusion Device. Some of these adverse events may have been previously
      reported in the adverse events table.

      •   Bone fracture.

      •   Bowel or bladder problems.

      •   Cessation of any potential growth of the operated portion of the spine. Loss
          of spinal mobility or function.

      •   Change in mental status.

     •    Damage to blood vessels and cardiovascular system compromise.

     •    Damage to internal organs and connective tissue.

     •    Death.




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           •   Development of respiratory problems .

           •   Disassembly, bending, breakage, loosening, and/or migration of
               components.

        •      Dural tears .

        •      Ectopic and/or exuberant bone formation .

        •      Fetal development complications.

        •      Foreign body (allergic) reaction .

        •      Gastrointestinal complications .

        •      lncisional complications .

        •      Infection .

       •       Insufflation complications .

       •       Neurological system compromise .

       •       Nonunion (or pseudarthrosis), delayed union, mal-union .

       •       Postoperative change in spinal curvature, loss of correction, height, and/or
               reduction.

       •       Retrograde ejaculation .

       •       Scar formation.

       •       Tissue or nerve damage.

       Note: Additional surgery may be necessary to correct some of these potential
       adverse events.

CLINICAL RESULTS:
Clinical data to support the safety and effectiveness of the InFUSE™ Bone Graft/LT-
CAGE™ Lumbar Tapered Fusion Device were collected as part of a prospective,
multi-center pivotal study that consisted of randomized and non-randomized arms.
The randomized arm contained two groups, one investigational and one control. The
control group was implanted with the LT-CAGE™ Lumbar Tapered Fusion Device
~illed with iliac crest autograft bone, while the investigational group was implanted with
the InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device. In both




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 cases, the surgical approach was an open anterior approach. The non-randomized
 arm contained only an investigational group, where subjects were implanted with the
 InFUSE™ Bone GrafVLT-CAGETM Lumbar Tapered Fusion Device through a
 laparoscopic anterior approach. The control group from the randomized arm was
 used as the control for the non-randomized arm.

 Neither the investigators nor the subjects were blinded to the treatment. Subject
 blinding was not possible due to the second surgical site resulting from the need to
 collect the iliac crest grafts. The potential for investigator bias in the clinical outcome
 parameters was reduced by having the subjects rate their outcome using objective
 self-assessments. The radiographic outcome parameters were performed by
 i"ndependent radiologists who were blinded to treatment. These were the only
 radiographic evaluations used for determining radiographic success.

 The indication studied was degenerative disc disease (DOD) accompanied by back
 pain with or without leg pain at a single level between l4 and S1 confirmed by history
 and radiographic studies.

 Clinical and r;:Jdiographic effectiveness parameters
 Patients were evaluated preoperatively (within 6 months of surgery), intraoperatively,
 and postoperatively at 6 weeks, 3, 6, 12 and 24 months and biennially thereafter until
ihe last subject enrolled in the study had been seen for their 24 month evaluation.
Complications and adverse events, device-related or not, were evaluated over the
course of the clinical trial. At each evaluation timepoint, the primary and secondary
clinical and radiographic outcome parameters were evaluated. Success was
determined from data collected during the initial 24 months of follow-up. Antibodies to
rhBMP-2 and bovine Type I collagen were assessed preoperatively and at 3 months
post-operatively. Antibodies to human Type I collagen were assessed if the antibody
response to bovine Type I collagen was positive.

 Primary and secondary clinical and radiographic effectiveness outcome parameters
 were evaluated for all treated subjects at all follow-up evaluation timepoints identified
.above. The primary clinical parameters assessed were of pain, function and
·heurological status. The secondary clinical outcome parameters assessed were
·general health status, back and leg pain, donor site pain (control subjects only),
 patient satisfaction and patient global perceived effect of the treatment. The primary
 radiographic outcome parameter consisted of evaluations of fusion, while the
·secondary radiographic assessment was disc height.

Fusion was evaluated at 6, 12 and 24 months post-op using plain radiographs (AP,
lateral and flexion/extension films) and high resolution thin-slice CT scans (1 mm
slices with 1mm index on axial sagittal and coronal reconstructions). Fusion was
defined as the presence of bridging bone connecting the inferior and superior




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    vertebral bodies; a lack of motion on flexion/extension (~ 3mm of translation and < so
    of angulation); and no evidence of radiolucencies over more that 50% of either
    implant. Fusion success was defined·as the presence of all of these parameters plus
    tne lack of a second surgical intervention resulting from a non-union. All assessments
    were made from the plain films except for the assessment of bridging bone, which
    was made using the CT scans only if bridging bone could not be visualized on the
    plain fi lm.

    Pain and function were measured using the Oswestry Low Back Pain Disability
    Questionnaire. Success was defined as a 15 point improvement in the Oswestry
    score from the pre-op baseline score.

     Neurological status consisted of measurements of four parameters- motor, sensory,
    .reflexes, and straight leg raise (SLR). Neurological status success was defined as
     maintenance or improvement of the pre-op baseline score for each parameter.
    Overall neurological status success required that each individual parameter be a
     success for that subject to be counted as a success.

     Patient demographics and accountability
     ft.. total of 143 open approach investigational and 136 control patients were enrolled in
     ~he randomized arm of the study and received the device. A total of 134 subjects were
    ·enrolled in the non-randomized arm of the study and received the device. For the
     majority of the demographic parameters, there were no differences in pre-op
     demographics across the three populations.

                              . r1zat1on
    s urg1ca resu ts an dh osplta
                                Surgical and hospitalization information
.                                  Investigational      Control Open          Investigational
                                   Open Surgical           Surgical        Laparoscoplc Surgical
    .                                Approach              Approach             Approach
. mean ope.rative time (hrs)              1.6                     2.0               1.9
        mean EBL (ml)                    109.8                   153.1             146.1
    hospitalization (days)                3.1                     3.3               1.2
  statistically different from control

 Clinical and radiographic effectiveness evaluation
 Individual subject success was defined as success in each of the primary clinical and
 radiographic outcome parameters. Success for these parameters included:               ·
 1.     the presence of radiographic fusion;
 2.     an improvement of at least 15 points from the baseline Oswestry score;
 3.     maintenance or improvement in neurological status;
 4.     the presence of no serious adverse event classified as implant-associated or
        implant/surgical procedure-associated; and
 5.     no additional surgical procedure classified as "Failure."




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 Study success was expressed as the number of individual subjects categorized as a
 success divided by the total number of subjects evaluated. The table below describes
 the success rates for the individual primary outcome parameters and overall success.
 All success rates were based on the data from the 24 month follow-up evaluation and
 posterior probabilities of success were calculated using Bayesian statistical methods.

                               Posterior Probabilities of Success at 24 Months
                  Investigational Open          Control Open Surgical       Investigational Laparoscopic
   Primary
                   Surgical Approach                    Approach                 Surgical Approach
   outcome
                      Posterior Mean                  Posterior Mean                Posterior Mean
   variable
               (95% HPD Credible Interval) {95% HPD Credible Interval)       (95% HPD Credible Interval)
                          92.8%                           88.1%                          93.0%
    Fusion                                                                         (87.9%, 97.5%)
                     (88.5%, 96.9%)                  (82.6%, 99.3%)
                          71 .0%                          70.9%                          83.0%
•• Oswestry                                          (63.1 %, 79.1 %)               (75.6%, 90.5%)
                     (63.4%, 78.7%)
                          81 .0%                          81.7%                          89.00/o
  Neurologic
                     (74.5% 87.9%)                   (74.9% 88.7%)                  {-83.1% 94.8%)
     Overall              57.1%                           56.7%                          68.00/o
. . success          {49.2% 65.7%)                   (48.3% 65.0%)                 {59.3% 76.5%)


 The probability (also called the posterior probability) that the 24 month overall success
 rate for the investigational groups was equivalent to the 24 month success rate for the
 control group was 99.4% for the open surgical approach investigational group and
 almost 100% for the laparoscopic surgical approach investigational group.

 For a future patient receiving the InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered
 Fusion Device via the open anterior surgical approach, the chance (the predictive
 probability) of overall success at 24 months would be 57.1% for the open surgical
 approach. Given the results of the trial, there is a 95% probability that the chance of
 success ranges from 49.2% to 65.7%. For a future patient receiving the InFUSE™
 Bone GratVLT-CAGE™ Lumbar Tapered Fusion Device via the anterior laparoscopic
surgical approach, the chance of overall success at 24 months would be 68.0%.
Given the results of the trial , there is a 95% probability that the chance of success
ranges from 59.3% to 76.5%. For a future patient receiving the control treatment, the
chance of overall success at 24 months would be 56. 7%. Given the results of the
trial, there is a 95% probability that the chance of success ranges from 48.3% to
85.0%.

 &afety and immune response evaluation
The assessment of safety consisted of an evaluation of the reported adverse events,
as well as an evaluation of antibodies to rhBMP-2, bovine Type I collagen and human
Type I collagen. The complete list of complications, adverse events and subsequent
interventions is described in the Adverse Events section above. The presence of
antibodies were assessed at the pre-op and 3 month post-op visits using ELISA. If
there was a positive response to bovine Type I collagen, the serum was also tested
for antibodies to human Type I collagen. The screening ELISA cutpoint for positive




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 antibody responses was set to 5 times the standard deviation of sera from normal
 human donors. Subjects were considered to have an elevated immune response if
 the preoperative test was negative (titer < 50) and postoperative test was positive
 (titer ~ 50) or if the preoperative test was positive and the postoperative test was
 positive with a three-fold higher titer than the preoperative test.

 There were 3 subjects who had positive antibody responses to rhBMP-2 - 1 subject in
 each of the study groups. The rates of positive antibody response to rhBMP-2 were
 o. 7% in the open surgical approach investigational group and 0.8% in the
 laparoscopic surgical approach investigational and open surgical approach control
 groups. While there is a theoretical possibility that antibodies to rhBMP-2 could
 neutralize endogenous BMP-2, thereby interfering with subsequent bone healing, this
 was not observed during the course of the study.

 Sixty-six subjects were considered to have an authentic elevated antibody response
 to bovine Type I collagen - 18 open surgical approach investigational subjects, 32
 laparoscopic surgical approach investigational subjects and 16 control subjects. No
 subjects had positive responses to human Type I collagen.

 An evaluation was performed on the impact of a positive antibody response on overall
'success and fusion success. There was very little difference in overall and individual
 success when antibody status was taken into consideration.

 During the course of the study, 6 pregnancies were reported - one in the control
 §roup and five in the investigational groups. Two of the four pregnancies that
.occurred in the laparoscopic approach group resulted in first trimester miscarriages.
'rhe other three pregnancies in the investigational groups resulted in live births with no
 reported complications. None of the pregnant subjects had antibody responses to
 rhBMP-2 or Type I collagen (bovine or human), that were detectable to the limits of
the sensitivity of the assay.

Two cases of cancer were diagnosed during the course of the pivotal study- one in
an investigational group and one in the control group. An investigational subject was
found to have pancreatic cancer while a control subject was found to have breast
cancer. No additional information is available on these subjects, e.g., BMP-2 receptor
expression.

HOW SUPPLIED
InFUSE™ Bone Graft component is supplied in three kit sizes containing all the
components necessary to prepare this portion of the device, i.e., the collagen
sponge(s), a vial with the lyophilized growth factor, a vial with sterile water for
reconstituting the growth factor, syringes and needles. The LT-CAGE™ Lumbar




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  Tapered Fusion Device component is supplied in seven sizes which must be properly
  selected based on a specific patient's anatomy.

 STORAGE CONDITIONS
 Store the InFUSE™ Bone Graft component at room temperature {15- 25 degrees
 Centigrade (59 to 77° F)). The LT-CAGETM Lumbar Tapered Fusion Device
 component should also be stored at room temperature.

 DOSAGE AND ADMINISTRATION
 InFUSE™ Bone Graft component is prepared immediately prior to use from a kit
 containing all necessary components. Once prepared, the InFUSE™ Bone Graft
 component contains rhBMP-2 at a concentration of 1.5 mg/mL.

 The size of the InFUSE™ Bone Graft component kit and the volume of InFUSE™
 Bone Graft component to be implanted are determined by the internal volume of the
 LT-CAGE™ Lumbar Tapered Fusion Device components which are utilized. The
 patient's anatomy will determine the size of the LT-CAGE™ components to be used.
 The InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device surgical
 technique provides more information on templating to determine the appropriate size
 t:T-CAGE™ Lumbar Tapered Fusion Device component.

DIRECTIONS FOR USE
InFUSE™ Bone Graft component is prepared at the time of surgery in the surgical
suite by reconstituting the lyophilized rhBMP-2 with sterile water (See Instructions for
Preparation), and then uniformly applying the reconstituted rhBMP-2 solution to the
ACS. The InFUSE™ Bone Graft component is then inserted into the LT-CAGE™
Lumbar Tapered Fusion Device component. The complete device is then implanted
through an anterior open or laparoscopic surgical approach (See the Surgical
Technique manual). If the InFUSE™ Bone Graft component is not used within two
hours after reconstitution, it must be discarded.

T-he InFUSE™ Bone Graft component must not be sterilized by the hospital. The LT-
CAGE™ Lumbar Tapered Fusion Device component, if not supplied sterile, should be
sterilized before insertion of the InFUSE™ Bone Graft component. Refer to the
package insert for the LT-CAGE™ Lumbar Tapered Fusion Device component for
information on packaging, cleaning/decontamination and sterilization of this
component and its instruments.

PRODUCT COMPLAINTS:
Any health care professional (e.g., customer or user of this system of products), who
has any complaints or who has experienced any dissatisfaction in the quality,
identification, durability, reliability, safety, effectiveness and/or performance of this
product, should notify the distributor, Medtronic Sofamor Danek. Further, if any of the




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  implanted InFUSE™ Bone Graft/LT-CAGE™ Lumbar Tapered Fusion Device
  components ever "malfunction," (i.e., do not meet any of their performance
  specifications or otherwise do not perform as intended), or are $USpected of doing so,
 the distributor should be notified immediately (1-800-933-2635). If any Medtronic
 Sofamor Danek product ever "malfunctions" and may have caused or contributed to
 the death or serious injury of a patient, the distributor should be notified immediately
 by telephone, fax or written correspondence. When filing a complaint, please provide
 the component name and number, lot number, your name and address, the nature of
 the complaint and notification of whether a written report from the distributor is
 requested.

DEVICE RETRIEVAL EFFORTS:
Should it be necessary to remove an lnFUSETM Bone Graft/LT-CAGE™ Lumbar Tapered
Fusion Device, please call Medtronic Sofamor Danek prior to the scheduled surgery to
receive instructions regarding data collection, including histopathological, mechanical and
adverse event information.




                         IN USA
Customer Service Division Telephone: 800-933-2635
Medtronic Sofamor Danek USA, Inc.         SD0-876-3133
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Medtronic Sofamor Danek USA, Inc.

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